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3
     Attorney for Defendant
4
     Wendy Wong
5
                            IN THE UNITED STATES DISTRICT COURT
6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8
                                                    ) Case No.: 2:11 CR 0166 MCE
     UNITED STATES OF AMERICA,                      )
9
                                                    ) STIPULATION AND ORDER FOR
                     Plaintiff,                     ) MODIFICATION OF PRETRIAL
10
                                                    ) RELEASE CONDITIONS
            v.                                      )
11
                                                    ) Judge: Hon. Kendall Newman
     WENDY WONG,                                    )
12
                                                    )
                     Defendant.                     )
13
14
                     On April 7, 2011, Wendy Wong was released from custody on conditions of
15
     release which included special condition 11 - an employment condition. Mrs. Wong speaks very
16
17   little English and has not worked in approximately three (3) years. Given the current economy

18   and Ms. Wong’s current inability to find employment, it is believed that it will continue to be
19   very difficult for Mrs. Wong to find employment. In fact, Pretrial Services, by way of Darryl
20
     Walker, is recommending that the condition of employment now be removed.
21
     STIPULATION
22
23          Therefore, Assistant United States Attorney Todd Leras on behalf of the United States,

24   and Defendant, Wendy Wong, through her undersigned counsel, hereby stipulate and agree that
25
     the Court should order that condition 10 - the pretrial release condition of employment no longer
26
     be imposed. All other previously imposed conditions of pretrial release should remain in full
27
28   force and effect.



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     IT IS SO STIPULATED.
1
2
3
     DATED: December 6, 2011               BENJAMIN B. WAGNER
4                                          United States Attorney
5
                                           By /s/ Todd D Leras
6                                          TODD D LERAS
                                           Assistant U.S. Attorney
7
8
     DATED: December 6, 2011               The CHASTAINE LAW OFFICE
9
10
                                           By /s/ Michael Chastaine
11                                         MICHAEL CHASTAINE
                                           Attorney for Defendant
12                                         Wendy Wong
13
14   ORDER

15   Good Cause Appearing, it is hereby ordered that the previously imposed condition 10 of
16
     pretrial release to wit: condition of employment be deleted.
17
     All other previously imposed conditions of pretrial release shall remain in full force and effect.
18
19   IT IS SO ORDERED.

20
21
     DATED: December 8, 2011
22
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24
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28


                                                      2
